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                                                       The White House
                                                                                                                                                  BLOG POSTS ON THIS ISSUE

                                                 Office of the Press Secretary                                                                    December 01, 2010 10:00 AM EST
                                                                                                                                                  A Taste of the Gulf at the White House
                                                                                                                                                  White House Executive Chef Cris Comerford
                  For Immediate Release                                                            June 16, 2010
                                                                                                                                                  higlights today's menu at the White House Mess
                                           FACT SHEET: Claims and Escrow                                                                          including oysters, crab, shrimp and trout from the
                                                                                                                                                  Gulf Coast region in honor of "America's Night Out
  INDEPENDENT CLAIMS FACILITY                                                                                                                     for Gulf Seafood."
  A new, independent claims process will be created with the mandate to be fairer, faster, and more transparent in
  paying damage claims by individuals and businesses.                                                                                             November 03, 2010 3:54 PM EST
                                                                                                                                                  Criticizing the Inspectors
   • To assure independence, Kenneth Feinberg, who previously administered the September 11th Victim                                              Michael R. Bromwich, Director the Bureau of
     Compensation Fund, will serve as the independent claims administrator.                                                                       Ocean Energy Management, Regulation and
   • The facility will develop standards for recoverable claims that will be published.                                                           Enforcement in the Department of Interior,
                                                                                                                                                  addresses criticisms of federal employees
   • A panel of three judges will be available to hear appeals of the administrator’s decisions.
                                                                                                                                                  responsible for conducting inspections on offshore
   • The facility is designed for claims of individuals and businesses who have been harmed by the oil spill; local,
                                                                                                                                                  rigs.
     state, tribal, and federal government claims will continue to be handled directly by BP.
   • The facility will decide all claims as expeditiously as possible, and in any event within the existing statutory
                                                                                                                                                  August 25, 2010 6:07 PM EST
     timeframe.
                                                                                                                                                  Administration Officials Travel to the Gulf
   • Dissatisfied claimants maintain all current rights under law, including the right to go to court or to the Oil Spill                         Coast
     Liability Trust Fund.                                                                                                                                                 The Chair of the White
   • Decisions under current law by the independent claims facility shall be binding on BP.                                                                                House Council on
   • All claims adjudicated under this facility have access to the escrow account for payment.                                                                             Environmental Quality
                                                                                                                                                                           traveled to Louisiana to
  ESCROW ACCOUNT                                                                                                                                                           view relief work following
  BP has agreed to contribute $20 billion over a four-year period at a rate of $5 billion per year, including $5 billion                          the Deepwater oil spill and discuss long-term Gulf
  within 2010. BP will provide assurance for these commitments by setting aside $20 billion in U.S. assets.                                       Coast restoration and recovery.


   • BP has reaffirmed its commitment to pay all removal costs and damages that it owes as a responsible party.                                   VIEW ALL RELATED BLOG POSTS

     It will not assert any liability cap under OPA to avoid liability.
   • The creation of the escrow account will provide assurance to the public that funds will be available to
     compensate the injured.
                                                                                                                                                              Facebook               YouTube
   • This account is neither a floor nor a ceiling on liability.
   • The escrow account is to be used to pay claims adjudicated by the independent claims facility, as well as                                                Twitter                Vimeo
     judgments and settlements, natural resource damage costs, and state and local response costs.
                                                                                                                                                              Flickr                 iTunes
  VOLUNTARY CONTRIBUTION FOR RIG WORKERS
                                                                                                                                                              MySpace                LinkedIn

   • BP will contribute to a foundation $100 million to support unemployed oil rig workers.
   • The Administration’s May legislative proposal would create a new program of unemployment assistance,
     modeled after the Disaster Unemployment Assistance Program, to provide benefits to workers who lose their
     jobs as a result of a spill of national significance.


  ENVIRONMENTAL AND HEALTH MONITORING


   • BP has previously committed $500 million for the ten-year Gulf of Mexico Research Initiative to improve
     understanding of the impacts of and ways to mitigate oil and gas pollution.
   • As a part of this initiative, BP will work with governors, and state and local environmental and health
     authorities to design the long-term monitoring program to assure the environmental and public health of the
     Gulf Region.




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                                                                                                                                                    Ex. 6
                                                                                                                                                    Press Release, White House, FACT SHEET:
                                                                                                                                                    Claims and Escrow, available at
                                                                                                                                                    http://www.whitehouse.gov/the-press-office/fact-she
                                                                                                                                                    et-claims-and-escrow (last visited Feb. 24, 2011).

http://www.whitehouse.gov/the-press-office/fact-sheet-claims-and-escrow                                                                                                                  2/24/2011
